Case 1:23-cv-03721-SCJ Document 1-142 Filed 08/21/23 Page 1 of 3




                 EXHIBIT B-131
        Case 1:23-cv-03721-SCJ Document 1-142 Filed 08/21/23 Page 2 of 3




                    IN THE SUPERIOR COURT OF FULTON COUNTY                       FILED IN OFFICE
                                STATE OF GEORGIA
IN RE: Special Purpose Grand
Jury                                                                         DEPUTY CLERK SUPERIOR COURT
                                                                                  FULTON COUNTY. GA


                                                     CASE NO. 2022-EX-000024




   REQUEST TO USE A RECORDING DEVICE PURSUANT TO RULE 22 ON
              RECORDING OF JUDICIAL PROCEEDINGS.

Pursuant to Rule 22 of the Uniform Rules for Superior Court regarding Use of
Electronic Devices in Courtrooms and Recording of Judicial Proceedings, the
undersigned    hereby requests    permission   to use a recording device m
Courtroom 8-D in order to Orecord images and/or l:8]sound during all or
portions of the proceedings in the above captioned case/ calendar.

Consistent with the provisions of the rule, the undersigned desires to use the
following described recording device(s): l:8]computer of any size, including a
tablet, a notebook, and a laptop; l:8]smart phone, a cell phone or other wireless
phone; D camera and other audio or video recording devices D any similar
devices __

The proceedings  that the undersigned desires to record commence on (date and
time}January 24, 2023. Subject to direction from the court regarding possible
pooled coverage, the undersigned wishes to use this device in the courtroom on
(date   and   time~anuary   24 1 2023.


The personnel        who will be responsible    for the use of this recording device are:
(identify appropriate personnel   or individual)Richard   Fausset,   reporter,    The New
York Times; and Danny Hakim,             reporter,   The New York Times.


The undersigned hereby certifies that the device to be used and the locations
and operation of such device will be in conformity with Rule 22 and any


For questions or concerns email pio@fultoncountyqa.gov                                     1
Rule 22 (Rev. 04/ 01 I 18)
    Case 1:23-cv-03721-SCJ Document 1-142 Filed 08/21/23 Page 3 of 3




guidelines issued by the court.

Richard Fausset & Danny Hakim
(News Agency/Media Outlet/Law Firm/Individual              Representative)

Richard.fausset@nytimes.com            ; hakim@nytimes.com
(Email Address)

917.803.3529 (Fausset)
(Phone Number)

ORDER APPROVING/DISAPPROVING REQUEST:
         The request is:
               [gjApproved


              The requesting agency:
                            be pool for its media
                      [gjShall not be pool for its media
Under no circumstances is this rule to be construed as permission for filming,
recording, or photography in any other area of the courthouse or courtroom
other than that for which permission is given. The undersigned understands
and acknowledges that a violation of Rule 22 and any guidelines issued by the
court may be grounds for removal or exclusion from the courtroom and a
willful violation may subject the undersigned to penalties for contempt of court.

So ORDERED this 19 th day of January           2023.




                     Judge of Super or Court of Fulton County
                              Atlanta Judicial Circuit




For questions or concerns email pio@fultoncountyqa.gov                         2
Rule 22 (Rev. 04/ 01/ 18)
